Case 9:16-cv-81871-KAM Document 522-1 Entered on FLSD Docket 08/22/2019 Page 1 of 6




                       EXHIBIT A
Case 9:16-cv-81871-KAM Document 522-1 Entered on FLSD Docket 08/22/2019 Page 2 of 6




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION
                                                  CASE No. 9:16-cv-81871-KAM

      LAN LI, an individual, et al.,

                  Plaintiffs,
      vs.

      JOSEPH WALSH, an individual, et al.,

                 Defendants.


                      DEFENDANT/CROSS-CLAIMANT, KK-PB FINANCIAL, LLC'S
                          NOTICE TO TAKE DEPOSITIONS DUCES TECUM


                 Please take notice, pursuant to Rules 26 and 30 Fed. R. Civ. P. that
      Defendant/Cross-Claimant, KK-PB Financial, LLC ("KK-PB"), shall take the deposition
      set forth hereafter:
      I.         Deponents

                  1.         Leslie Robert Evans, Esq.
                 2.          Rule 30(b)(6) Company Representative for Leslie Robert Evans &
                             Associates, P.A. - to inquire as to the matters set forth in Appendix 1.
                 3.          Records Custodian      for Leslie Robert Evans & Associates, P.A., from
                             January 1, 2013 to the present.

      II.        Date and Time:                     Tuesday, August 6, 2019 at 10:00 a.m.

      III.       Location:                          Phipps Reporting, Inc.
                                                    1551 Forum Place- Suite 200E
                                                    West Palm Beach, FL 33401

             Pursuant to Rule 3 O(b)(2), the Deponents are requested to produce, for review at
      the deposition, documents requested in Appendix 2.

                 Said depositions shall continue from day to day until concluded.


      g-lfiles\kk-pb financial Jlc.508\9: 16-cv-8187 l-kam\li et al v. walsh et al.\notice to take depositions 061919.doc   1
Case 9:16-cv-81871-KAM Document 522-1 Entered on FLSD Docket 08/22/2019 Page 3 of 6




                                                               Appendix 1
                                                              Rule 30(b)(6)


      I.         All Documents executed at the August 30, 2013 Closing of the sale of
                 the Palm House Hotel.

      2.         All persons present at the Closing.

      3.         Matters discussed at the Closing.

      4.         All directives or instructions received from Robert Matthews and/or
                 Maria Matthews before, at or after the Closing regarding items to be
                 paid or not to be paid as listed on the closing Statement.




      g-lfiles\kk-pb financial llc.508\9: 16-cv-81871-kam\li et al v. walsh et al.\notice to take depositions 061919.doc   2
Case 9:16-cv-81871-KAM Document 522-1 Entered on FLSD Docket 08/22/2019 Page 4 of 6




                                                                Appendix 2

      I.         Definitions

           1.     Unless otherwise noted, the time period covered by this
      Request shall be January 1, 2013 to the present.

            2.    The terms "you," and "your" means Leslie Robert Evans or
      Leslie Robert Evans & Associates, P.A. and any agents, attorneys,
      accountants, employees, expert witnesses, servants or any other person (as
      defined in paragraph 3 below) acting on your behalf or subject to your
      control.

            3.     The term "person" used herein means any individual, firm,
      natural person, corporation, partnership, unincorporated association, trust,
      and any other business or governmental entity.

             4.     The term "Document" has the full extent of the meaning and
      includes any writing and any other tangible thing in your custody,
      possession, or control, whether printed, recorded, reproduced by any
      process, or written or produced by hand, including, but not limited to, the
      original and any non-identical copy (which is different from the original
      because of notations on such copy or otherwise), including, without
      limitation, letters, reports, agreements (including drafts, proposals and any
      and all exhibits hereto), maps and drawings, communications, including
      intra company communications, correspondence, electronic mail
      transmissions, text messages, social media site postings, facsimile
      transmissions, telegrams, teletype messages, memoranda, summaries,
      records or records of personal conversations, diaries, forecasts, photographs,
      tape recordings, models, statistical statements, graphs, laboratory and
      engineering reports and notebooks, charts, plans, drawings, minutes or
      records of conferences, agendas, lists of persons attending meetings or
      conferences, reports and/or summaries of interviews, reports, and/or
      summaries of investigations, opinions or reports of consultants; brochures,
      pamphlets, circulars, advertisements, circulars trade letters, press releases,
      drafts of any documents and revisions of drafts of any documents,
      tabulations, charts, books of account, ledgers, invoices, financial statements,
      purchase orders, receipts, and canceled checks. The term "document" shall
      include data stored, maintained or organized electronically or magnetically
      through computer equipment, translated, if necessary, by you into a
      reasonably usable form, including but not limited to, cloud storage or any
      g-lfiles\kk-pb financial llc.508\9: I6-cv-81871-kam\li et al v. walsh et al.\notice to take depositions 061919.doc   3
Case 9:16-cv-81871-KAM Document 522-1 Entered on FLSD Docket 08/22/2019 Page 5 of 6




      other method of electronic storage.

            5.    The terms "reflecting," "relating to," "reflecting or relating to,"
      and "in connection with" mean referring to, evidencing, pertaining to,
      consisting of, indicating, concerning, or in any way logically or factually
      connected with the matter discussed or to which reference is made.

             6.    "Identify" or "identification" shall mean, with respect to any
      natural person, to state the full name, home address, business address,
      employer and position or positions within each organization, employing
      such person at the present time and any other time relevant to the matters at
      issue in this lawsuit; and, with respect to any other person as defined in
      definition (3) above, to state his, her or its' full name, address and principal
      place of business.

             7.    "Identify" or "identification" shall mean, with respect to any
      document, to set forth the date thereof, the title (if any), the name of the
      person or persons authoring such document, the name of the person or
      persons to whom such document was given or transmitted, the present
      location and custodian of the document, or any copies thereof, and the topic
      dealt with therein with reasonable specificity, and to describe the relevant
      page or pages and line or lines there of (or annex a copy to the response and
      answer of these requests for production with appropriate designations of
      such pages and lines).

            8.     "KK-PB" shall mean the Defendant/Cross-Claimant, KK-PB
      Financial, LLC.

           9.    "Closing" - the August 30, 2013 Closing for the sale of the
      Palm House Hotel.

      II.        Request for Production of Documents

                 1.         The Leslie Robert Evans & Associates IOTA Account ledgers
                            from January 1, 2013 through December 31, 2014 referring or
                            relating to the Palm House Hotel.
                 2.         All Documents being emails, text messages or other electronic
                            transmissions of information to or from Robert Matthews or
                            Maria Matthews regarding or relating to any of the
                            disbursements pursuant to the August 30, 2013 Closing
                            Statement.
      g-lfiles\kk-pb financial llc.508\9: I6-cv-81871-kam\li et al v. walsh et al.\notice to take depositions 061919.doc   4
Case 9:16-cv-81871-KAM Document 522-1 Entered on FLSD Docket 08/22/2019 Page 6 of 6




                                                                           Respectfully submitted,

                                                                          Isl Larrv A. Zink
                                                                          Larry A. Zink, Esq.
                                                                          Florida Bar No. 0109592

                                                                          ZINK, ZINK & ZINK CO., LP.A.
                                                                          1198 Hillsboro Mile - Suite 244
                                                                          Hillsboro Beach, FL 33062
                                                                          Telephone: (330) 492-2225
                                                                          Facsimile: (330) 492-3956
                                                                          Cell Phone: (330) 495-0171
                                                                          Email: zinklaw371 l @yahoo.com
                                                                          Counsel for Defendant/Cross-Claimant,
                                                                          KK-PB Financial, LLC


                                             CERTIFICATE OF SERVICE

             THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the
      foregoing document was electronically filed with the Clerk of Court using the CMIECF
      system, on this            W
                               day of June, 2019, and that the foregoing document is being
      served this day on all counsel of record identified on the Service List below, via
      transmission of Notices of Electronic Filing generated by CMIECF.

      Gregory R. Elder, Esq.
      Law Offices of Gregory R. Elder, LLC
      108 SE 8th Avenue - Suite 114
      Fort Lauderdale, FL 33301
      Email: gelderlaw@gmail.com
      Counsel for Defendants:
      Leslie Robert Evans; and
      Leslie Robert Evans & Associates, P.A.
      and
      All other counsel via email


                                                                          Isl Larry A. Zink
                                                                          Larry A. Zink, Esq.
                                                                          Florida Bar No. 0109592




      g-lfiles\kk-pb financial llc.508\9: 16-cv-81871-kam\li et al v. walsh et al.\notice to take depositions 061919.doc
                                                                                                                           5
